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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          11/15/2021
------------------------------------x
CISCO SYSTEMS, INC.                 :
                                    :
                     Plaintiff,     :                     Civ. A. No. 1:20-CV-10879-LTS-SN
     -against-                      :
                                    :                                 ESI PROTOCOL
SYNAMEDIA LTD. F/K/A TRITON UK BIDCO:
LIMITED                             :
                                    :
                     Defendant.     :
                                    :
------------------------------------x

       Plaintiffs Cisco Systems, Inc. (“Cisco”) and Defendant Synamedia Ltd. f/k/a Triton UK

Bidco Limited (“Synamedia”) have agreed to the procedures and protocols set forth in this Order

shall govern the production of Electronically Stored Information (“ESI”) in this matter.

       A.      SCOPE

       The procedures and protocols set forth in this Agreement shall govern the production of

ESI in this matter, unless the Parties agree in writing to change them or they are changed by the

Court at the request of a Party. The Parties agree that discovery measures that do not reasonably

or meaningfully lead to resolution of the claims and defenses in this matter in the most just, speedy,

and inexpensive manner may be avoided. To the extent that third parties may produce documents

in this case, the Parties agree to request that such third parties adopt this Agreement.

       B.      DEFINITIONS

               1.      “ESI” means information that is stored electronically, regardless of the

                       media or whether it is in the original format in which it was created, as

                       opposed to stored in hard copy (i.e., on paper).

               2.      “Metadata” means the generic term used to describe the structural

                       information of a file that contains data about the file, as opposed to


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            describing the content of a file, as per the Sedona Conference’s Glossary of

            Terms. The Parties have initially agreed upon a set of metadata and coding

            fields to produce, see infra Section H.2. The Parties will provide metadata

            to the extent it was maintained in the ordinary course of business, with the

            exception of BEGBATES, ENDBATES, BEGATTACH, ENDATTACH,

            FILE_LINK (for native-produced files only), DOCTYPE, MD5HASH,

            DATESVD (for non-emails only), and CUSTODIAN, which must be

            provided for all documents. The Parties agree that production of metadata

            concerning novel or proprietary file formats may require special

            arrangements, and the Parties agree to meet and confer regarding any

            production.

      3.    “Native Format” means and refers to the format of ESI in which it was

            generated or as it is ordinarily maintained by the Producing Party in the

            usual course of its business and in its regularly conducted activities.

      4.    “Static Image(s)” means a representation of ESI produced by converting a

            Native File into a standard image format capable of being viewed and

            printed on standard computer systems. A Tagged Image File Format (TIFF)

            image is an example of a Static Image.

      5.    “OCR” means the optical character recognition file which is created by

            software used in conjunction with a scanner that is capable of reading text-

            based documents and making such documents searchable using appropriate

            software.




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               6.      “Extracted Text” means the text extracted from a Native File and includes

                       all header, footer and document body information.

               7.      “Party” or “Parties” means or refers to the named Plaintiff and/or

                       Defendant in the above-captioned case.

               8.      “Search Methods” means the use of search terms, date range restrictions,

                       data sampling processes, computer assisted review that uses software to

                       evaluate information within documents and determine relevancy based on

                       applicable algorithms, or selection criteria as a means of identifying data

                       reasonably likely to contain relevant information.

       C.      COOPERATION

       The Parties are aware of the importance the Court places on cooperation and commit to

cooperate in good faith.

       D.      LIAISON

       The parties have identified liaisons to each other who are and will be knowledgeable about

and responsible for discussing their respective ESI. Each e-discovery liaison will be, or have access

to those who are, knowledgeable about the technical aspects of e-discovery, including the location,

nature, accessibility, format, collection, search methodologies, and production of ESI in this

matter. The parties will rely on the liaisons, as needed, to confer about ESI and to help resolve

disputes without court intervention.

       E.      DISPUTES

       The Parties shall meet and confer (through telephone, video conference, or an in person

face-to-face meeting) in good faith on any issue regarding ESI, as necessary, including any relating

to custodians and data sources, that arise under this Agreement or otherwise. In the event the



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Parties cannot reach an agreement on a disputed matter, the Parties shall submit the matter to the

Court in accordance with the Federal Rules of Civil Procedure, the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York and/or the Individual Practices

of Chief Judge Laura Taylor Swain and/or Magistrate Judge Sarah Netburn.

       F.      PRESERVATION

       The parties have discussed their preservation obligations and needs and agree that

preservation of potentially relevant ESI will be reasonable and proportionate. To reduce the costs

and burdens of preservation and to ensure proper ESI is preserved, the parties agree that:

               1.         They will take reasonable steps to preserve information and documents

                          (including metadata) that are potentially relevant to this litigation, subject

                          to reasonable limitations, which includes limitations on automatic deletion

                          of temporary data.

               2.      The parties shall agree to add or remove custodians as reasonably necessary.

                       If the parties cannot reach agreement on the addition or removal of any

                          custodian, they will follow the dispute procedure outlined above;

               3.         The following data sources, although they could contain relevant

                          information, will generally be considered to be not reasonably accessible

                      because of undue burden or cost, and need not be preserved, searched,

                      reviewed, or produced:

                     i.          ESI contained on “Backup systems” (e.g., systems that periodically

                                 store electronic data on tape, floppy disk, optical media, or

                                 comparable media to permit the recovery of the information in the

                                 event of a system failure);



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             ii.      Voicemails,     instant   messages,      and    similar   non-email

                      communication;

            iii.      Deleted fragmented or slack data or other data only accessible by

                      forensics;

            iv.       Random access, cache or other ephemeral data;

             v.       On-line data access data such as temporary internet files or cookies;

            vi.       Broken hard drives;

           vii.       Deleted or corrupted files or file fragments that require recovery

                      through forensic measures, or electronic files with unknown file

                      extensions;

           viii.      System data that are typically overwritten in the normal course of

                      business; and

            ix.       Viruses.

      4.       Notwithstanding Section F.3, the parties shall preserve the data sources

               identified in Section F.3 pursuant to their respective document retention

               policies and/or procedures. If specific facts demonstrate a particular need

               to preserve, search, review, and/or produce ESI listed above in Section F.3,

               the party requesting such preservation, search, review, or production shall

               follow the dispute procedure set forth above.

      5.       Relevant ESI must be preserved, searched, and produced even if it is

               password protected. Upon request from the Receiving Party, Producing

               Party shall provide the requested password if reasonably available. If the

               Producing Party determines in good faith that the Receiving Party’s



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            request(s) for the password(s) becomes too burdensome, then the Producing

            Party shall follow the dispute procedure set forth above.

      6.    In the event a party later determines that preservation is or becomes unduly

            burdensome for some system, set of custodians, or type of documents, the

            parties agree to meet and confer in good faith regarding the circumstances

            in an effort to avoid undue burden and expense.

G.    PROPORTIONALITY AND SEARCH TERM PROTOCOL

      1.    Use of Search Methods. To ensure proportionality and exclude ESI that is

            not relevant to the matter, the Parties agree to meet and confer to discuss

            the process for gathering ESI and use of reasonable Search Methods as a

            means to identify relevant ESI for review and production, with an

            expectation that the Parties will reach an agreement on a set of Search

            Methods against an agreed-upon list of custodians.

            (i)    It is understood that this may likely be an iterative process. Once a

                   protocol for Search Methods has been agreed to and executed, it may

                   likely need to be refined or customized for specific custodians or

                   ESI types. However, the Parties will undertake best efforts to ensure

                   that the first list of Search Methods is as thorough and appropriate

                   as a first list can be. Upon a reasonable request to further expand or

                   limit the use of Search Methods, the Parties will meet and confer

                   and attempt in good faith to reach an agreement. If the Parties cannot

                   reach agreement, any dispute shall be present to the Court in

                   accordance with the Federal Rules of Civil Procedure, the Local



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                    Rules of the United States District Courts for the Southern and

                    Eastern Districts of New York and/or the Individual Practices of

                    Chief Judge Laura Taylor Swain and/or Magistrate Judge Sarah

                    Netburn.

            (ii)    In the event that any Party determines in good faith, after attempting

                    to use the agreed Search Methods, that its use of any of those Search

                    Methods is unreasonable burdensome and inefficient, then it shall

                    meet and confer with the Party that propounded the document

                    request to which it is responding. The propounding Party shall

                    negotiate in good faith to modify the agreed Search Methods. In the

                    absence of a mutually acceptable agreement to modify the agreed

                    Search Methods, the responding Party may apply to the Court to

                    modify the terms of this protocol.

            (iii)   The fact that one or more search terms is found in a file, document,

                    or other specific ESI does not establish relevance, responsiveness or

                    discoverability.

      2.    De-duplication of Production. Prior to production, each producing party

            shall de-duplicate ESI globally across all custodians. The basis for de-

            duplication shall be MD5 or SHA1 hash values at the document level.

            Attachments shall be taken into account for generating hash values for email

            files based on the parent/child document grouping. The custodians of de-

            duplicated copies of documents should be included in the database load file




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            in the CUSTODIAN field or in a duplication-specific field such as DUPE

            CUSTODIAN.

      3.    Excluded File Types. The Parties agree that the following ESI file types

            need not be processed, searched, or produced:

            i.     Word temporary files, such as files that include a tilde as the first

                   character of the filename (e.g. “~mydocument.doc”);

            ii.    “Thumb” files created when a directory is opened in “thumbnail

                   view” indicated by a “thumbs.db” filename; and

            iii.   File extensions listed in Appendix A.

            iv.    Non-searchable embedded files, such as Object Linking and

                   Embedding (OLE) files.

H.    PRODUCTION

      1.    ESI Production Format.

            i.     All of Cisco’s ESI productions shall be produced in their native

                   format unless redacted. The confidentiality designation of the

                   document shall appear in the document’s production file name or

                   shall be otherwise identified at the time the document is product,

                   such as on a label provided with the media containing the file.

                   Redacted documents shall be produced as TIFFS. Each TIFF or

                   natively produced document should be named with a unique Bates

                   Number (e.g., CISCO-0001234).

            ii.    All of Synamedia’s ESI productions shall be produced in TIFF

                   format, with the exception of Excel and PowerPoint files, which



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                          shall be produced in their native format unless redacted. Each TIFF

                          or natively produced document should be named with a unique

                          Bates Number (e.g., SYNAMEDIA-0001234).

             2.   Metadata Fields and Metadata File.           The Parties are only obligated

                  to provide the following metadata for all ESI produced to the extent such

                  metadata exists. The parties are not obligated to populate manually any of

                  the fields below if such fields cannot be extracted from a document, with

                  the exception of the following, which must be populated by each party for

                  every    document:      BEGBATES,         ENDBATES,         BEGATTACH,

                  ENDATTACH, FILE_LINK (for native-produced files only), DOCTYPE,

                  MD5HASH, DATESVD (for non-emails only), CUSTODIAN, and

                  DESIGNATION.


Field Name                                      Field Description
                    (If a particular field is not applicable to a particular document and
                      is not otherwise required to be populated by the party, the field
                                               will be left blank.)

BEGBATES            Beginning production Bates number (not temporary number).


ENDBATES            Ending production Bates number (not temporary number).

                    For Emails and other container files, this is the first production
                    Bates number of the first document in a family, that is, the body of
BEGATTACH           the cover Email or the original container file. If a document is
                    neither parent nor child, this field is left blank.

                    For Emails and other container files, this is the last production Bates
ENDATTACH           number of the last document in a family. If a document is neither parent
                    nor child, this field is left blank.




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Field Name                                        Field Description
                    (If a particular field is not applicable to a particular document and
                      is not otherwise required to be populated by the party, the field
                                               will be left blank.)
                    Last Modified Date for loose files and Date Sent for emails;
DOCUMENTDATE        MM/DD/YYYY HH:MM AM/PM


                    Original filename or title of the produced document.
FILE_NAME /
TITLE
                    Relative file path of the produced native file on the production media.
NATIVEFILE


                    Relative file path of the produced text file on the production media.
TEXTLINK


                    Includes the Individual (Custodian) from whom the documents
CUSTODIAN           originated and all Individual(s) whose documents de-duplicated out (De-
                    Duped Custodian)

FROM                The name and email address of the sender of the email/document.



TO                  All recipients that were included on the “To” line of the
                    email/document.


CC                  All recipients that were included on the “CC” line of the
                    email/document.

                    All recipients that were included on the “BCC” line of
BCC                 the email/document.



SUBJECT             Subject line of email.




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Field Name                                        Field Description
                  (If a particular field is not applicable to a particular document and
                    is not otherwise required to be populated by the party, the field
                                             will be left blank.)

DATECREATED       Date created (format: MM/DD/YYYY).



DATERECEIVED      Date received (format: MM/DD/YYYY).



DATESVD           Original date modified (format: MM/DD/YYYY).



DATESENT          Date email/document was sent (format: MM/DD/YYYY).


                  Confidentiality designation assigned to document.
DESIGNATION



DOCTYPE           The application that created the file (e.g. “Word Document” or “Excel
                  Spreadsheet”).


AUTHOR            Author.



FILE_EXT          The file extension.



FILE_SIZE         File size of the native file.



FOLDER NAME       Original file path of the document.




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Field Name                                          Field Description
                     (If a particular field is not applicable to a particular document and
                       is not otherwise required to be populated by the party, the field
                                                will be left blank.)

LOCATION / PATH Original file path or file location of the document.



IMPORTANCE           Email priority level if set.



MD5HASH              A calculated value unique to each identical file. This is the file’s
                     “fingerprint.”


MIME_TYPE            Name of the program that created the document.



PAGES                Number of pages per document (if produced as image).




             3.    Use of Natively Produced Documents at a Deposition, Court Hearing,

                   or Trial, or Converted to Paper Format For Other Use. If a party elects

                   to use a natively produced document as an exhibit at a deposition, court

                   hearing, or trial, or elects to convert the document to a paper format to use

                   for another purpose (e.g., show to a witness, use by a party’s outside counsel

                   for prosecution of its case, etc.), the document shall be rendered in such a

                   format that each page or image must be branded with the file name and

                   unique document number identifier, so that each page of the document has

                   a unique identifying number beginning with “.0001.” For example, the first

                   two pages of a document labeled natively CISCO-0001234, should be


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            labeled CISCO-0001234.0001 and CISCO-0001234.0002. The foregoing

            requirements shall not apply if it is not technologically feasible (e.g.,

            oversized spreadsheet, audio, video).

      4.    TIFFs. Redacted documents (see supra Section H.1) shall be produced as

            black and white TIFFs, as applicable. See supra § H.1. Likewise, documents

            that exist only in hard copy format shall be scanned and produced as TIFFs.

            i.     TIFF Formatting. Unless excepted below, single page Group IV

                   TIFFs should be provided, at least 300 dots per inch (dpi) for all

                   documents. Each TIFF image shall be named according to a unique

                   corresponding Bates number associated with the document. Each

                   image shall be branded according to the Bates number. Original

                   document orientation should be maintained (i.e., portrait to portrait

                   and landscape to landscape). TIFFs shall show all text and images

                   that would be visible to a user of the hard copy documents. To the

                   extent that a produced TIFF is a color document, if the producing

                   party has reason to believe (such as by, for example, colored

                   highlighted text, notes, or other delineations that would be not

                   visible or obscured in .tiff format), or if a receiving party reasonably

                   asserts in good faith, that the colors are necessary to understand the

                   substance of the document, the producing party will produce the

                   image in color as a JPEG file.

            ii.    Text Files. A single multi-page text file shall be provided for each

                   document produced in TIFF, and the filename should match its



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                   respective TIFF filename. A commercially acceptable technology

                   for OCR shall be used for all scanned, hard copy documents. Text

                   files will not contain the redacted portions of the documents and

                   OCR text files will be substituted instead of extracted text files for

                   redacted documents.

            iii.   Image Load Files/Data Load Files. Each TIFF in a production must

                   be referenced in the corresponding image load file. The total number

                   of documents referenced in a production’s data load file should

                   match the total number of designated document breaks in the Image

                   Load file(s) in the production. The total number of pages referenced

                   in a production’s image load file should match the total number of

                   TIFF files in the production. The total number of documents in a

                   production should match the total number of records in the data load

                   file.

            iv.    Redaction of Information. If documents are produced containing

                   redacted information, an electronic copy of the original, unredacted

                   data shall be securely preserved in such a manner so as to

                   preserve without modification, alteration or addition the content of

                   such data including any metadata therein. The Producing Party shall

                   have no obligation to produce the original, unredacted data

                   (including any metadata therein) except by agreement of the Parties

                   or Court order.




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                5.     Proprietary Files. To the extent a response to discovery requires

                       production of ESI accessible only through proprietary software, the parties

                       shall meet and confer to finalize the appropriate production format.

                6.     Production Media. The Producing Party shall produce documents on

                       readily accessible, computer or electronic media as the Parties may hereafter

                       agree upon, including CD-ROM, DVD, flash drive, external hard drive

                       (with standard PC compatible interface or access to a secure On-Line

                       Repository agreed upon by the Parties) or via secure FTP site.            The

                       Producing Party shall accompany all document productions with a

                       transmittal cover letter identifying by Bates number the documents

                       produced.

       I.       OBJECTIONS TO ESI PRODUCTION.

       If either Party objects to producing the requested ESI on the grounds that such

information is not reasonably accessible because of undue burden or cost, or because

production in the requested format would impose undue burden or cost, the Party shall

describe the nature of the objection with reasonable particularity. This notification shall occur

promptly. If possible, the notifying party should describe potential alternative sources or

production formats. The Parties will meet and confer in an attempt to resolve the objections

if necessary.

       J.       PRIVILEGE LOGS.

       Neither Party is required to log privileged or otherwise legally-protected (from production)

ESI or any other material dated after July 10, 2020, the date on which Synamedia sent its first letter

to Cisco raising the dispute that led to this litigation (the “cut-off date”). In addition, documents



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created by or on behalf of outside litigation counsel and communications with outside litigation

counsel, regardless of their date, do not need to be included on any privilege log. The parties

reserve the right to request a log of the documents excluded under this provision where good cause

exists.

          K.     NO WAIVER OF PRIVILEGE.

          If a Producing Party inadvertently or unintentionally produces any document(s) or

information the Producing Party determines was entitled to a claim of privilege or protection from

discovery (including but not limited to attorney-client privilege, work product doctrine, and other

privilege created by federal or state statute or regulation), the Producing Party shall, within twenty-

one (21) days of discovering the inadvertent production, give notice to the Receiving Party in

writing of the Producing Party’s claim of privilege or protection from discovery. The Receiving

Party then shall promptly return, sequester, or destroy the specified document(s) or information;

must not use or disclose the information until the privilege or protection claim is resolved; must

take reasonable steps to retrieve the information if the Receiving Party disclosed it before being

notified; and may promptly present the information to the court under seal for a determination of

the claim. The Producing Party must preserve the information until the claim is resolved.

          Inadvertent or unintentional production may not be deemed a waiver in whole or in part of

the Producing Party’s claim of privilege or immunity from discovery either as to specific

documents and information disclosed or on the same or related subject matter based on the facts

constituting the inadvertent production. This provision is, and shall be construed as, an Order under

Rule 502(d) of the Federal Rules of Evidence. Accordingly, as is explicitly set forth in Rule

502(d), a Party’s production of documents, whether inadvertent or intentional, is not a waiver of

any privilege or protection “in any other federal or state proceeding.” Fed. R. Evid. 502(d).



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       L.     MODIFICATION

       This Stipulated Order may be modified by a Stipulated Order of the parties or by the Court

for good cause shown.



Dated: November 10, 2021                           Respectfully Submitted,



   SO ORDERED.




   Dated: November 15, 2021
         New York, New York




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/s/ Christopher J. Letkewicz                       /s/ Rebecca L. Martin
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                                 APPENDIX A

                        EXCLUDED FILE EXTENSIONS

EXTENSION             EXCLUDE BECAUSE

$$$                   TEMPORARY FILE

286                   DEVICE DRIVER

386                   DEVICE DRIVER

AFM                   ADOBE FONT METRIC

ASP                   ACTIVE SERVER PAGE

AVI                   MOVIE / ANIMATION

AXF                   SOURCE CODE

BACKUP                BACKUP FILE

BAK                   BACKUP FILE

BAT                   EXECUTABLE

BIN                   BINARY DATA

BKF                   WINDOWS BACKUP FILE

C                     C/C++ SOURCE CODE FILE

CAB                   INSTALLER FILE

CFG                   BINARY CONFIGURATION FILE

CHM                   WINDOWS HELP FILE

CLASS                 SOURCE CODE FILE

CMD                   COMMAND FILE (TEXT EXECUTABLE)

CNT                   WINDOWS HELP CONTENTS TABLE




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EXTENSION             EXCLUDE BECAUSE

COM                   EXECUTABLE

CONF                  SYSTEM OR APPLICATIONS SETTINGS FILE

CONFIG                CONFIGURATION FILE

CPL                   CONTROL PANEL APPLET

CS                    SOURCE CODE

CSPROJ                SOURCE CODE

CSS                   CASCADING STYLE SHEET

CUR                   WINDOWS CURSOR

DAT                   RAW DATA, PROBABLY BINARY

DATA                  RAW DATA, PROBABLY BINARY

DB                    DATABASE FILE, PROBABLY BINARY

DBF                   DATABASE

DEF                   MS VISUAL C++ DEFINITION FILE

DEFAULT               SYSTEM OR APPLICATIONS SETTINGS FILE

DICT                  DICTIONARY

DLG                   C++ DIALOGUE SCRIPT

DLL                   EXECUTABLE

DOT                   MS-WORD DOCUMENT TEMPLATE

DS_STORE              COMMERCIAL FILE

DUN                   MS DIAL-UP NETWORKING EXPORT

EPS                   PRINTER FILE



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EXTENSION             EXCLUDE BECAUSE

ERR                   SYSTEM FILE

EXE                   EXECUTABLE

FON                   FONT

FOT                   FONT

GAM                   GAME

H                     SOURCE CODE HEADER/INCLUDE FILE

HLP                   HELP FILE

ICO                   MS WINDOWS ICON

INF                   SETUP INFORMATION FILE

INI                   INITIALIZATION FILE

INS                   INSTALLSHIELD INSTALL SCRIPT

INX                   INSTALLSHIELD INDEX

JAVA                  SOURCE CODE

JS                    JAVA SCRIPT SOURCE CODE FILE

JSP                   JAVA SERVER PAGE

LIB                   LIBRARY (EXECUTABLE)

LIVEUPDATE            LIVEUPDATE FILE

LNK                   MS WINDOWS SHORTCUT/LINK

LOG                   LOG FILE (UNKNOWN SOURCE)

MAK                   SOURCE CODE MAKE FILE

MDB                   MS ACCESS DATABASE/TEMPLATE/ADDITION



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EXTENSION             EXCLUDE BECAUSE

MDE                   COMPILED MS ACCESS DATABASE

ME                    INFO (E.G. READ.ME), MULTIEDIT CONFIG

MID                   AUDIO FILE

MIDI                  AUDIO FILE

MP2                   AUDIO FILE

MP3                   AUDIO FILE

MP4                   AUDIO FILE

MSI                   MS WINDOWS INSTALLER WIZARD

NLB                   ORACLE 7 DATA

O                     COMPILER OBJECT

OBJ                   COMPILER OBJECT

OCX                   OLE CONTROL EXTENSION

OVL                   PROGRAM OVERLAY (EXECUTABLE)

PAK                   COMPRESSED ARCHIVE, GAME FILE

PDB                   MS VISUAL C++ PROGRAM DATABASE (AND OTHER DBS)

PF                    MS WINDOWS PREFETCH CACHE

PFB                   ADOBE POSTSCRIPT FONT (BINARY)

PFM                   ADOBE PRINTER FONT METRICS

PIF                   MS WINDOWS PROGRAM INFORMATION

PIP                   MS APPLICATION PROFILE SETTINGS

PL                    PERL APPLICATION



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EXTENSION             EXCLUDE BECAUSE

PNF                   PRECOMPILED SETUP INFORMATION

QUE                   DATABASE QUERY

QUERY                 DATABASE QUERY

README                PROGRAM INFO FILE

RMI                   AUDIO FILE

SCR                   SCRIPT, SCREEN SAVER,

SQL                   DATABASE QUERY

SYM                   SYMBOL TABLE

SYS                   SYSTEM FILE

SYSLOG                SYSTEM LOG

THEME                 MS WINDOWS DESKTOP THEME

TLB                   MS WINDOWS OLE TYPE LIBRARY

TMP                   TEMPORARY FILE

TTF                   TRUE TYPE FONT

UNINSTALL             UNINSTALL FILE

URL                   MS WINDOWS INTERNET SHORTCUT

USR                   USER INFO FILE

VB                    MS VISUAL BASIC.NET SOURCE CODE

VBN                   MS VISUAL BASIC.NET SOURCE CODE

VBPROJ                MS VISUAL BASIC.NET PROJECT

VCPROJ                MS VISUAL C++.NET PROJECT



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EXTENSION          EXCLUDE BECAUSE

VXD                VIRTUAL DEVICE DRIVER (EXECUTABLE)

WAV                AUDIO FILE




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